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KENNETH S. MONTOYA, OSB #064467
Sr. Assistant Legal Counsel
kmontoya@co.marion.or.us
555 Court Street N.E., Suite 5242
P.O. Box 14500
Salem, OR 97309
Telephone: (503) 588-5220
Facsimile No.: (503) 373-4367
Attorney for Defendant Marion County




                IN THE UNITED STATES DISTRICT COURT OF OREGON

                                     EUGENE DIVISION

THE ESTATE OF DEZERAY MOLIERI, by                           Case No. 6:15-cv-02336-TC
and through its Personal Representative,
DIANNA DAVIS                                                DEFENDANT MARION
                                                            COUNTY’S ANSWER TO
                                    Plaintiff,              PLAINTIFF’S AMENDED
                                                            COMPLAINT
       v.

                                                            JURY TRIAL REQUESTED
MARION COUNTY, a municipal organization
and JOHN DOES 1-10.

                                 Defendants.



       Defendant Marion County (“Defendant”), for itself alone, in answer to Plaintiff’s

Amended Complaint, admits, denies, and alleges as follows:

                                                 1.

       Defendant denies the allegations contained in Paragraphs 1, 2, 4, 17, 21, 23, 25, 26, 28,

29, 31, 32 and the “Prayer” of Plaintiff’s Amended Complaint.

                                                 2.

       In response to Paragraphs 3, 7, and 14, Defendant does not have sufficient knowledge or


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information to admit or deny the allegations contained in Paragraph 3, 7, and 14, and, on this

basis, denies at this time.

                                                  3.

          In response to Paragraph 5, Defendant admits that this Court has jurisdiction over this

action but deny the remaining allegations in Paragraph 5.

                                                  4.

          In response to Paragraph 6, Defendant admits that venue is appropriate in this matter but

deny the remaining allegations in Paragraph 6.

                                                  5.

          In response to Paragraph 8, Defendant admits that it is a duly organized municipal entity

operating under the laws of the State of Oregon. Deny that the Marion County Jail is a separate

legal entity subject to suit.

                                                  6.

          Paragraphs 9 – 12 refer to other defendants and, as such, no response is due from

Defendant. To the extent a claim is asserted against Defendant in Paragraphs 9 – 12, Defendant

denies.

                                                  7.

          In response to Paragraph 13, plaintiff improperly pleads conclusions of law to which no

response is due from Defendant.

                                                  8.

          In response to Paragraph 15, Defendant admits that Judge Deborah Wilson ordered that

plaintiff be taken into custody after finding that she was unable to aid and assist pursuant to ORS

161.370.

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                                               9.

       Defendant admits Paragraphs 16, 18, and 22.

                                               10.

       In response to Paragraph 19, Defendant admits that plaintiff was found deceased in her

cell at the date and approximate time provided in Paragraph 19.

                                               11.

       In response to Paragraph 20, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 19.

                                               12.

       In response to Paragraph 24, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 24.

                                               13.

       In response to Paragraph 27, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 26.

                                               14.

       In response to Paragraph 30, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 29.

                                               15.

       In response to Paragraph 33, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 32.

                                               16.

       Defendant denies all claims asserted against it in Paragraphs 34 – 41, 43 – 45, 47, 49 –

50, and 52 – 54. As to claims against other Defendants in Paragraphs 34 – 41, 43 – 45, 47, 49 –

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50 and 52 – 54, no responses are due from this Defendant.

                                                17.

       In response to Paragraph 42, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 41.

                                                18.

       In response to Paragraph 46, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 45.

                                                19.

       In response to Paragraph 48, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 47.

                                                20.

       In response to Paragraph 51, Defendant realleges and admits and denies as alleged above

in response to Paragraphs 1 through 50.

                                                21.

       Except as specifically admitted, Defendant denies each and every allegation in the

Amended Complaint.

                             FIRST AFFIRMATIVE DEFENSE

                                   (Failure to State a Claim)

                                                22.

       Plaintiff has failed to state a claim for which relief may be granted for one or more of the

theories alleged.

///



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                            SECOND AFFIRMATIVE DEFENSE

                               (Legitimate Penological Interests)

                                               23.

       The actions of Defendant’s employees were reasonably related to legitimate

penological concerns regarding the safety and security of the inmates and staff of the Marion

County Jail.

                             THIRD AFFIRMATIVE DEFENSE

                                   (Oregon Tort Claims Act)

                                               24.

       Defendant Marion County is a public body.

                                               25.

       Plaintiff’s state claims are subject to the conditions, limitations and immunities contained

in the Oregon Tort Claims Act, ORS 30.260 et seq.

       WHEREFORE, Defendant, having fully answered plaintiff’s Amended Complaint,

prays that said Amended Complaint be dismissed with prejudice and that Defendant be awarded

costs and disbursements in defending this action.

       DEFENDANTS RESPECTFULLY DEMAND A JURY TRIAL



       DATED this 15th day of December, 2017.



                                                             /s/Kenneth S. Montoya
                                                             Kenneth S. Montoya
                                                             Sr. Assistant Legal Counsel
                                                             Attorney for Defendant Marion
                                                             County

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                              CERTIFICATE OF SERVICE

     I hereby certify that I served the foregoing ANSWER on the following person(s):

                                   Matthew L. Mohill
                                   Attorney at Law
                                   P.O. Box 2294
                                   Bend, OR 97709

     By the following indicated method or methods:

   XX        By electronic means through the Court's Case Management/Electronic Case File
             system on the date set forth below;
   ___       By faxing a copy thereof to each attorney at each attorney's last-known facsimile
             number on the date set forth below;
   ___       By mailing a full, true, and correct copy thereof in a sealed, first-class postage-
             prepaid envelope, addressed to the attorney's last-known office address listed
             above and causing it to be deposited in the U.S. mail at Salem, Oregon on the date
             set forth below;
   ___       By causing a copy thereof to be hand-delivered to said attorney at each attorney's
             last-known office address listed above on the date set forth below;


     DATED this 15th day of December, 2017.

                                                          /s/Kenneth S. Montoya
                                                          Kenneth S. Montoya
                                                          Sr. Assistant Legal Counsel
                                                          Attorney for Defendant Marion
                                                          County




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